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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA
                                                  No. 11 CR 821
                 v.
                                                  Judge Amy St. Eve
JERRY JOHNSON
TYRITA MYERS
DOUGLAS WILSON
SHELDON MORALES

             AGREED PROTECTIVE ORDER GOVERNING DISCOVERY

       By agreement of the parties, pursuant to Fed. R. Crim. P. 16(d) and 18 U.S.C. §

3771(a)(1) and (8), it is hereby ORDERED:

       1.        All of the materials provided by the United States in preparation for, or in

connection with, any stage of the proceedings in this case (collectively, "the materials") are

subject to this protective order and may be used by defendants and defendants’ counsel

(defined as counsel of record in this case) solely in connection with the defense of this case,

and for no other purpose, and in connection with no other proceeding, without further order

of this Court.

       2.        Defendants and defendants’ counsel shall not disclose the materials or their

contents directly or indirectly to any person or entity other than persons employed to assist

in the defense, persons who are interviewed as potential witnesses, counsel for potential

witnesses, and other persons to whom the Court may authorize disclosure (collectively,

“authorized persons”). Potential witnesses and their counsel may be shown copies of the

materials as necessary to prepare the defense, but may not retain copies without prior

permission of the Court. The materials and their contents shall not be disclosed either
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directly or indirectly to any person or entity outside of the United States without prior

authorization from the Court.

       3.     Defendants, defendants’ counsel, and authorized persons shall not copy or

reproduce the materials except in order to provide copies of the materials for use in

connection with this case by defendant, defendant’s counsel, and authorized persons. Such

copies and reproductions shall be treated in the same manner as the original materials.

       4.     Defendants, defendants’ counsel, and authorized persons shall not disclose any

notes or records of any kind that they make in relation to the contents of the materials, other

than to authorized persons, and all such notes or records are to be treated in the same manner

as the original materials.

       5.     Before providing materials to an authorized person, defense counsel must

provide the authorized person with a copy of this Order.

       6.     Upon conclusion of all stages of this case, all of the materials and all copies

made thereof shall be destroyed or returned to the United States, unless otherwise ordered

by the Court. The Court may require a certification as to the disposition of any such

materials.

       7.     To the extent any material is produced by the United States to defendants or

defendants’ counsel by mistake, the United States shall have the right to request the return

of the material and shall do so in writing. Within five days of the receipt of such a request,

defendants and/or defendants’ counsel shall return all such material if in hard copy, and in

the case of electronic materials, shall certify in writing that all copies of the specified

material have been deleted from any location in which the material was stored.

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       8.     The restrictions set forth in this Order do not apply to documents that are or

become part of the public court record, including documents that have been received in

evidence at other trials, nor do the restrictions in this Order limit defense counsel in the use

of discovery materials in judicial proceedings in this case.

       9.     Nothing contained in this Order shall preclude any party from applying to this

Court for further relief or for modification of any provision hereof.

                                            ENTER:


                                            _______________________________
                                            Judge Amy St. Eve
                                            United States District Court
                                            Northern District of Illinois

Date: March 15, 2012




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